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Mario Juarez
Owner

Social Networks




Cecilia Mendez
Operations Manager

Social Networks




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Erika Jordening
General Councel

Social Networks




Staff




Edwin Ramirez
Transaction Manager

Social Networks




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Jimena Olmos
Loan Processor

Social Networks




Jennifer Juarez
Office Assistant

Social Networks




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Jose Ontiveros
Office Assistant

Social Networks




Dario Laza
Office Assistant

Social Networks




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Fernando "El Carinoso" Martinez
Promotions Talent

Social Networks




Will Jimenez
Marketing Director /
Graphic Designer

Social Networks


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Adalberto "TITO" Gutierrez
REALTOR

Social Networks




Bernardo Villafuerte
REALTOR

Social Networks

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Carmen Acosta
Account Executive

Social Networks




Delia Dorantes


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Account Executive

Social Networks




Eleyna Felix
Account Executive

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Enedina "Dina" Munguia
REALTOR

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Ezequiel Zarate
Account Executive

Social Networks




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Frank Coello
Team Sonia Dominguez Member

Social Networks




Gabriel Ortiz
REALTOR

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Irma Reynoso
Account Executive

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Jonathan Izazaga
Account Executive

Social Networks




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Rosa Valencia
Account Executive

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Rosalia Negron
Team Wilfred Negron

Social Networks



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Sonia Dominguez
Account Executive

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Stephanie Candevan
Account Executive


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Sue Mei
REALTOR

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Wilfred Negron
REALTOR

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